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 4   ATTORNEY FOR DEFENDANT
     Joseph Figlia
 5

 6
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,     )              NO.2:12-cr-00198-MCE-30
10                                 )
          PLAINTIFF,               )
11                                 )              STIPULATION AND ORDER
          v.                       )              TO CONTINUE SENTENCING
12                                 )              OF DEFENDANT JOSEPH FIGLIA
     Joseph Figlia,                )
13
                                   )
14
                                   )
          DEFENDANT.               )
15   ______________________________)

16
           It is hereby stipulated and agreed, by and between Michael
17
     Anderson, ASUA on behalf of the United States and Michael J.
18

19
     Aye, on behalf of defendant Joseph Figlia, and agreed to by

20   probation that sentencing be continued. The               reasons    for     this
21   continuance are that September 25, 2014 was inadvertently chosen
22
     on a date wherein counsel for defendant is scheduled to be on a
23
     pre-paid    vacation    out    of   state.     In   addition,    defendant      is
24

25
     currently engaged in a program of training that is expected to

26   be   completed    by   the    end   of   the     year.   Once   completed,     the
27   training   will   allow      defendant   to    emerge    from   prison   and    be
28
     ______________________________________
     Stipulation and Order to
     Continue Sentencing
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 1   gainfully employed as a union iron worker. This is a program
 2
     that pre-trial services has approved of, while defendant has
 3
     been on pre-trial release.
 4
           The following new dates are offered as revisions to the
 5

 6   current Judgment and Sentencing schedule:

 7   Sentencing:                                           January 8, 2015
 8

 9
     Motion for Correction of the resentence               January 1, 2015
10   Report shall be filed with the Court and
     served on the Probation Officer and
11
     opposing counsel no later than:
12
     The Presentence Report shall be filed with            December 18, 2014
13   the Court and disclosed to counsel no later
     than:
14

15   Counsel's written objections to the                   November 23, 2014
     Presentence Report shall be delivered to
16   the Probation Officer and opposing counsel
     no later than:
17

18

19
     The Proposed Presentence Report has already been disclosed.
20

21
     Dated: 8/28/2014
22                                 __Michael J. Aye /S/________________
                                   Michael J. Aye, Attorney for
23                                 Defendant, Joseph Figlia
24
     Date: 8/28/2014               ___Michael Anderson /S/_____________
25                                 Michael Anderson, AUSA, Attorney for
                                   Plaintiff, United States of America
26

27

28
     ______________________________________
     Stipulation and Order to
     Continue Sentencing
                                              - 2 -
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 1                                       ORDER
 2
           For Good Cause Shown, it is hereby ORDRED that the previous
 3
     sentencing    date   of   September      25,     2014   be   vacated   and   that
 4
     sentencing be reset to January 8, 2015 at 9:00 a.m. and the
 5

 6   proposed changes in schedule, has hereinabove set forth, are

 7   hereby adopted by this court.
 8
           IT IS SO ORDERED.
 9
     Dated:   September 2, 2014
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     ______________________________________
     Stipulation and Order to
     Continue Sentencing
                                              - 3 -
